IN THE SUPREME COURT OF TEXAS

                                 No. 09-0106

                  IN RE  ALLIED CHEMICAL CORPORATION ET AL.

                      On Petition for Writ of Mandamus

ORDERED:

      1.    Relators' motion to stay underlying case, filed March 17,  2009,
is granted.   All trial court  proceedings  in  Cause  No.  C-4885-99-F(10),
styled Alicia Acevedo, et al. v. Union Pacific Railroad Company, et al.,  in
the 332nd District Court  of  Hidalgo  County,  Texas,  are  stayed  pending
further order of this Court.
      2.    The petition for writ of mandamus remains  pending  before  this
Court.

            Done at the City of Austin, this April 09, 2009.
                                  [pic]
                                  Blake A. Hawthorne, Clerk
                                  Supreme Court of Texas


                                  By Claudia Jenks, Chief Deputy Clerk


